Case No. 1:20-cv-00742-DDD-KAS Document 379 filed 08/28/23 USDC Colorado pg 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:20-cv-00742-DDD-KAS

   JAMES COREY GOODE, individually and,
   GOODE ENTERPRISE SOLUTIONS INC.,

   Plaintiffs,

   v.

   GAIA, INC.,
   JAY WEIDNER,
   BENJAMIN ZAVODNICK,
   ALYSSA MONTALBANO,
   JIRKA RYSAVY,
   BRAD WARKINS, and
   KIERSTEN MEDVEDICH

   Defendants.


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   Alyssa Chrystie Montalbano, Individually

   Counter-Claimant,

   v.

   James Corey Goode, individually

   Counter-Defendants,


   David Wilcock,
   THE WILCOCK SPIRITUAL HEALING AND
   EMPOWERMENT FOUNDATION

   Third-Party Defendants.




                                              1
Case No. 1:20-cv-00742-DDD-KAS Document 379 filed 08/28/23 USDC Colorado pg 2 of 5




                     ALYSSA MONTALBANO
       OPPOSED MOTION TO EXCEED WORD LIMIT FOR RESPONSE
                 TO MOTION FOR SANCTIONS [#376]



      Alyssa Chrystie Montalbano, files this Motion to Exceed Word Limit for her

   RESPONSE to Defendant Ms. Elizabeth Lorie’s, “THIRD-PARTY DEFENDANT

   ELIZABETH LORIE’S RENEWED MOTION FOR SANCTIONS AGAINST ALYSSA

   MONTALBANO” [#376] for the following:



                 I.     Conferral

      Montalbano has conferred with Defendant Lorie via her counsel, Alicia Reinken,

   (via Joe Novak due to limited email access for Ms. Reinken), regarding this motion and

   they are Opposed to the relief requested herein.


                 II.    Certification

      Montalbano has file this motion three (3) business days before the Response filing

   due date (August 31, 2023), pursuant DDD Civ. P.S. III(A)(5).



                 I.     Facts in Support of Granting this Motion


      Montalbano requests a word limit increase of 1,350 words for the following:




                                                2
Case No. 1:20-cv-00742-DDD-KAS Document 379 filed 08/28/23 USDC Colorado pg 3 of 5




      The Motion for Sanctions [#376] is wholly improperly filed by Ms. Lorie and her

   counsel Ms. Reinken and the extra words are needed for the following:


      1) There are approximately twelve (12) different and interrelated matters to cite in

         breach of F.R.C.P. 11 in conjunction with corresponding on-point case law.


      2) Approximately 800 – 1,200 words are direct quotes from on-point cases or other

         papers that should not be reduced and show clearly how the Motion for Sanctions

         [#376] is barred in all Circuit Courts in America.


      3) There are multiple false and misleading statements in the Motion for Sanctions

         that have to be specifically cited and the actual facts [re]pointed out.


      4) Magistrate Judge Starnella is newly assigned to this complex case and is not

         familiar with Lorie and her Counsels’ past conduct of making false statements in

         and out of Court and these matters have to be re-pointed out.


      5) This instant case has over 370 Docket filings and there are multiple related cases

         and Montalbano has to cite some procedural background from related case

         18CV50 [#27], Mesa District Civil Court, whereby Montalbano was semi-recently

         granted a Protection Order against Goode, and reasonably believes Lorie’s

         improperly filed Motion for Sanctions is related to the granted Protection Order.

         [#161-3, 18CV50, Lorie attorney fees request]




                                                3
Case No. 1:20-cv-00742-DDD-KAS Document 379 filed 08/28/23 USDC Colorado pg 4 of 5




   The extra words will make it easy to adjudicate the Motion for Sanctions with minimal

   time requirements for the presiding Officers, as Montalbano has spent over 100 hours

   during the past two and a half weeks researching and writing the Response.



   The proposed Response and Exhibits are attached hereto for consideration and admission.



      WHEREFORE, Montalbano requests this Motion to Exceed Word Limit be Granted

   to increase the Response word limit from 4,000 words to 5,350 words to expedite the

   disposition of the untimely and noncomplying Motion for Sanctions [#376].


   Dated this 28th day of August 2023.




                                                       Respectfully Submitted and All
                                                       Rights Reserved,

                                                       /s/ Alyssa Chrystie Montalbano

                                                       Pro Se Litigant, Defendant,
                                                       Counter-Claimant, Third-Party
                                                       Plaintiff, Paralegal student

                                                       970.250.8365
                                                       2536 Rimrock Ave
                                                       Suite 400-117
                                                       Grand Junction, CO 81505
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                                              4
Case No. 1:20-cv-00742-DDD-KAS Document 379 filed 08/28/23 USDC Colorado pg 5 of 5




                                  CERTIFICATE OF SERVICE


   I certify that on this 28th day of August 2023 a copy of the foregoing Motion to Exceed Word
   Limit and attached Proposed Response and Exhibits were filed with the clerk of the court using
   the CM/ECF system and is lawfully served upon relevant parties counsels and upon appeared
   Defendants, through the Case Management/Electronic Case Filed (CM/ECF) court filing system.
   (FRCP Rule 5); and upon pro se litigants Mr. David Wilcock and WILCOCK FOUNDATION
   via USPS first class mail appointed agent CORPORATE CAPITAL INC., Mr. Brent Carlson,
   7848 W. Sahara Ave, Las Vegas, NV 89117.
   /s/ Alyssa Montalbano

   Alyssa Montalbano, American Citizen




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